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                           UNITED STATES DISTRICT COURT
                           WESTERN DISTRICT OF KENTUCKY
                                LOUISVILLE DIVISION

                                              3:19-CV-279-RGJ
                            CIVIL ACTION NO.: _____________


 DEAN NORDMAN,                                                                   PLAINTIFF
 by and through his Attorney in Fact,
 HELEN A. NORDMAN

 v.

 THE EVANGELICAL LUTHERAN                                                  DEFENDANTS
 GOOD SAMARITAN SOCIETY, INC.
  d/b/a THE GOOD SAMARITAN SOCIETY –
 JEFFERSONTOWN
 d/b/a THE GOOD SAMARITAN CENTER

 and

 CHRISTINE WIDEMAN, in her capacity as Administrator
 of The Good Samaritan Society – Jeffersontown

 and

 JOHN DOES 1 through 3,
 UNKNOWN DEFENDANTS

                           COMPLAINT WITH JURY DEMAND



       Comes the Plaintiff, Dean Nordman, by and through his Attorney in Fact, HELEN A.

NORDMAN, and for this cause of action against Defendants, The Evangelical Lutheran Good

Samaritan Society, Inc. d/b/a The Good Samaritan Society – Jeffersontown d/b/a The Good

Samaritan Center; Christine Wideman, in her capacity as Administrator of The Good Samaritan

Society – Jeffersontown; and John Does 1 through 3, Unknown Defendants states:

       1.     Dean Nordman is, and was at all relevant times herein, a resident of Jefferson

County, Kentucky.


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       2.      Helen A. Nordman serves as the Attorney in Fact for Dean Nordman.

       3.      Upon information and belief, Dean Nordman was admitted as a resident of The

Good Samaritan Society – Jeffersontown, located at 3500 Good Samaritan Way, Jeffersontown,

KY 40299, (hereinafter sometimes referred to as “the facility”), on or about October, 2017, and

except for hospitalization, remained there until on or about April 2018.

       4.      Defendant The Evangelical Lutheran Good Samaritan Society, Inc. d/b/a The Good

Samaritan Center d/b/a The Good Samaritan Center – Jeffersontown is a non-profit foreign

corporation organized under the laws of North Dakota with its principal office located at 4800

West 57th St., Sioux Falls, SD 57108, and is authorized to do business in the Commonwealth of

Kentucky. Upon information and belief, at times material to this action, Defendant The

Evangelical Lutheran Good Samaritan Society, Inc. owned, operated, managed, controlled, and/or

provided services for The Good Samaritan Center – Jeffersontown. Upon information and belief,

at times material to this action, Defendant The Evangelical Lutheran Good Samaritan Society, Inc.

was the “licensee” of the facility. Under the laws and regulations promulgated and enforced by the

Cabinet for Health and Family Services, as licensee of the facility, Defendant The Evangelical

Lutheran Good Samaritan Society, Inc. was legally responsible for that facility and for ensuring

compliance with all laws and regulations related to the operation of the facility. The causes of

action made the basis of this suit arise out of such business conducted by said Defendant The

Evangelical Lutheran Good Samaritan Society, Inc. in the ownership, operation, management,

control, licensing, and/or services provided at the facility during the residency of Dean Nordman.

The agent for service of process for Defendant The Evangelical Lutheran Good Samaritan Society,

Inc. is through the CT Corporation System, 306 West Main Street, Suite 512, Frankfort, KY 40601.




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        5.       Upon information and belief, Defendant Christine Wideman was the administrator

of The Good Samaritan Society – Jeffersontown during the residency of Dean Nordman. The

causes of action made the basis of this suit arise out of the administration of the facility by Christine

Wideman. Defendant Christine Wideman may be served with process at the addresses shown

above in this Complaint.

        6.       Defendants John Does 1 through 3 are entities and/or persons, either providing care

and services to Dean Nordman, or directly or vicariously liable for the injuries of Dean Nordman.

Plaintiff is currently unable to identify these Unknown Defendants, despite diligent efforts, but

may discover such identities upon further investigation. Said Defendants are named insofar as their

acts and/or omissions were negligent, tortious or otherwise wrongful with respect to the care,

treatment and services to Dean Nordman during his residency at The Good Samaritan Society –

Jeffersontown.

        7.       Whenever the term “Nursing Home Defendant” is utilized within this suit, such

term refers to The Evangelical Lutheran Good Samaritan Society, Inc. d/b/a The Good Samaritan

Society – Jeffersontown d/b/a The Good Samaritan Center.

        8.       Whenever the term “Administrator Defendant” is utilized within this suit, such term

refers to Christine Wideman.

        9.       Whenever the term “Defendants” is utilized within this suit, such term collectively

refers to and includes all named Defendants in this lawsuit.

        10.      Defendants controlled the operation, planning, management, budget and quality

control of the facility. The authority exercised by Defendants over the facility included, but was

not limited to, control of marketing, human resources management, training, staffing, creation and

implementation of all policy and procedure manuals used by the facility, federal and state



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reimbursement, quality care assessment and compliance, licensure and certification, legal services,

medical supply services, and financial, tax and accounting control through fiscal policies

established by Defendants.

       11.     Jurisdiction and venue are proper in this Court.

                                  FACTUAL ALLEGATIONS
       12.     The Plaintiff re-alleges and incorporates by reference the allegations in every

paragraph heretofore stated as if fully set out herein.

       13.     Upon information and belief, Dean Nordman was looking to Nursing Home

Defendant for treatment of his total needs for custodial, nursing, and medical care and not merely

as the situs where others not associated with the facility would treat him.

       14.     At all relevant times mentioned herein, Nursing Home Defendant owned, operated,

managed, controlled and/or provided services for The Good Samaritan Society – Jeffersontown,

either directly or through a joint enterprise, partnership or the agency of each other and/or other

diverse subalterns, alter egos, subsidiaries, governing bodies, agents, servants or employees.

       15.     Nursing Home Defendant is directly or vicariously liable for any acts and omissions

by any person or entity, directly or indirectly controlled, including any governing body, officer,

employee, ostensible or apparent agent, partner, consultant or independent contractor, whether in-

house or outside individuals, entities, agencies or pools.

       16.     Nursing Home Defendant failed to discharge its obligations of care to Dean

Nordman, and in so failing, displayed a conscious disregard for his rights and safety. At all times

mentioned herein, Nursing Home Defendant, individually and/or through its corporate officers and

administrators, had knowledge of, ratified and/or otherwise authorized all of the acts and omissions

that caused the injuries suffered by Dean Nordman, as more fully set forth below. Nursing Home



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Defendant knew that this facility could not provide the minimum standard of care to the weak and

vulnerable residents of The Good Samaritan Society – Jeffersontown, including Dean Nordman.

       17.     Due to the wrongful conduct of Nursing Home Defendant, Dean Nordman suffered

accelerated deterioration of his health and physical condition beyond that caused by the normal

aging process, including, but not limited to, the following: poor hygiene, malnourishment, weight

loss, physical abuse and medication errors.

       18.     Dean Nordman also suffered unnecessary loss of personal dignity, extreme pain

and suffering, degradation, mental anguish and disability, all of which were caused by the wrongful

conduct of Nursing Home Defendant as alleged below.

       19.     The injuries described in this Complaint are a direct and proximate result of the acts

or omissions set forth herein, singularly or in combination. As a result of these injuries, Dean

Nordman’s health deteriorated and he required medical treatment.

                                    CAUSES OF ACTION
                                   COUNT I – NEGLIGENCE

       20.     The Plaintiff re-alleges and incorporates by reference the allegations in every

paragraph heretofore stated as if fully set out herein.

       21.     Nursing Home Defendant owed a non-delegable duty to Dean Nordman to provide

the custodial care, services and supervision that a reasonably careful nursing home would provide

under similar circumstances.

       22.     Upon information and belief, Nursing Home Defendant knowingly developed and

maintained staffing levels at the facility without regard for patient acuity levels or the minimal

time to perform the essential functions of providing care to Dean Nordman.

       23.     Nursing Home Defendant negligently failed to deliver care, services and

supervision, including, but not limited to, the following acts and omissions:

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   (a)   Failure by the members of the governing body of the facility to discharge their legal
         and lawful obligation by:
         (1)    ensuring that the rules and regulations designed to protect the health and
                safety of the residents, such as Dean Nordman, as promulgated by the
                Cabinet for Health and Family Services, Division of Long Term Care;
         (2)    ensuring compliance with the resident care policies for the facility; and
         (3)    ensuring that appropriate corrective measures were implemented to correct
                problems concerning inadequate resident care;
   (b)   Failure to develop, implement and follow policies to assist Dean Nordman in
         attaining and maintaining the highest level of physical, mental and psychological
         well-being;
   (c)   Failure to maintain all records on Dean Nordman in accordance with accepted
         standards and practices;
   (d)   Failure to provide the minimum number of qualified personnel to meet the total
         needs of Dean Nordman;
   (e)   Failure to provide adequate nursing and other staff that was properly staffed,
         qualified and trained;
   (f)   Failure to ensure that Dean Nordman received adequate and proper custodial care;
   (g)   The failure to maintain all records on Dean Nordman in accordance with accepted
         standards and practice that were complete, accurately documented, readily
         accessible, and systematically organized with respect to his diagnosis, treatment,
         and appropriate care plans of care and treatment;
   (h)   Failure to monitor or increase the number of nursing personnel at the facility to
         ensure that Dean Nordman:
         (1)    received timely and accurate care assessments;
         (2)    received prescribed treatment and medication;
         (3)    received appropriate diet and nutrition;
         (4)    received necessary supervision; and
         (5)    received timely intervention due to significant changes in condition;
   (i)   Failure to have in place adequate guidelines, policies and procedures for the facility
         and to administer those policies through enforcement of any rules, regulations, by-
         laws or guidelines;
   (j)   Failure to take reasonable steps to prevent, eliminate and correct deficiencies and
         problems in resident care at the facility;

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       (k)     Failure to ensure that Dean Nordman received timely and appropriate custodial
               care, including, but not limited to, supervision, personal attention, infection control
               measures, and hygiene;
       (l)     Failure to protect Dean Nordman from abuse and neglect; and
       (m)     Failure to increase the number of personnel at the facility to ensure that Dean
               Nordman did not suffer the above-listed failures.
       24.     A reasonably careful nursing facility would not have failed to provide the care listed

above. It was foreseeable that these breaches of ordinary care would result in serious injuries to

Dean Nordman. With regard to each of the foregoing acts of negligence, Nursing Home Defendant

acted with oppression, fraud, and/or malice or were grossly negligent by acting with wanton or

reckless disregard for the health and safety of Dean Nordman.

       25.     Plaintiff also alleges that Nursing Home Defendant violated statutory and

regulatory duties of care, the violations of which are evidence of negligence. Violations of said

statutory and regulatory standards of care by Nursing Home Defendant caused in part the injuries

to Dean Nordman. Dean Nordman was injured by the statutory and regulatory violations of

Nursing Home Defendant and was within the class of persons for whose benefit the statutes and

regulations were enacted and promulgated and who was intended to be protected by these statutes

and regulations. The violations of the statutory and regulatory standards of care of Nursing Home

Defendant included, but are not limited to, violation(s) of the following:

       (a)     Violation(s) of KRS 209.005 et seq. and the regulations promulgated thereunder,
               by abuse, neglect and/or exploitation of Dean Nordman; and/or,
       (b)     Violation(s) of the statutory standards and requirements governing licensing and
               operation of long-term care facilities as set forth by the Cabinet for Health and
               Family Services, pursuant to provisions of KRS Chapter 216 and the regulations
               promulgated thereunder.
       26.     As a direct and proximate result of such oppression, fraud, malice, or gross

negligence, Dean Nordman suffered the injuries described herein. Plaintiff asserts a claim for

judgment against Nursing Home Defendant for all compensatory and punitive damages including,

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but not limited to, medical expenses, extreme pain and suffering, mental anguish, disability,

disfigurement, degradation, and unnecessary loss of personal dignity, in an amount to be

determined by the jury, but in excess of the minimum jurisdictional limits of this Court and

exceeding that required for federal court jurisdiction in diversity of citizenship cases, plus costs

and all other relief to which Plaintiff is entitled to by law.

                            COUNT II – MEDICAL NEGLIGENCE

        27.     The Plaintiff re-alleges and incorporates by reference the allegations in every

paragraph heretofore stated as if fully set out herein.

        28.     Nursing Home Defendant had a duty to provide the standard of professional

medical care and services that a reasonably competent nursing facility acting under the same, and

similar, circumstances would provide.

        29.     Nursing Home Defendant failed to meet the applicable standards of medical care.

The medical negligence or malpractice of Nursing Home Defendant included, but was not limited

to, the following acts and omissions:

        (a)     The overall failure to ensure that Dean Nordman:
                (1)     Received timely and accurate care assessments;
                (2)     Received prescribed treatment and medication;
                (3)     Received appropriate diet and nutrition;
                (4)     Received necessary supervision; and
                (5)     Received timely intervention due to significant changes in condition;
        (b)     Failure to provide sufficient numbers of qualified personnel, including nurses,
                licensed practical nurses, certified nurse assistants and medication aides to meet the
                total needs of Dean Nordman throughout his residency;
        (c)     Failure to provide and implement an adequate nursing care plan based on the needs
                of Dean Nordman;
        (d)     Failure to provide care, treatment and medication in accordance with physician’s
                orders;

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       (e)     Failure to adequately and appropriately monitor Dean Nordman and recognize
               significant changes in his health status, and to timely notify his physician of
               significant changes in his health status;
       (f)     Failure to ensure Dean Nordman was not deprived of the services necessary to
               maintain his health and welfare;
       (g)     Failure to inform the physician and family of significant changes in condition;
       (h)     Failure to ensure that Dean Nordman received adequate and proper supervision and
               hygiene as well as infection control procedures;
       (i)     Failure to adequately, timely and appropriately educate and inform the caregivers
               at the facility of the needs, level of assistance, and prescribed care and treatment
               for Dean Nordman;
       (j)     Failure to provide proper supervision, treatment, assessment and monitoring of
               Dean Nordman in order to prevent the above-listed injuries;
       (k)     Failure to administer and secure appropriate medical care following the
               development and/or discovery of Dean Nordman’s above-listed injuries; and
       (l)     Failure to increase the number of personnel at the facility to ensure that Dean
               Nordman not suffer the above-listed failures.
       30.     It was foreseeable that the breaches of care listed above would result in serious

injuries to Dean Nordman. A reasonably competent nursing facility acting under the same or

similar circumstances would not have failed to provide the care listed above.

       31.     With regard to each of the foregoing acts of professional or medical negligence,

Nursing Home Defendant acted with oppression, fraud, and/or malice, or were grossly negligent

by acting with wanton or reckless disregard for the health and safety of Dean Nordman.

       32.     As a direct and proximate result of such oppression, fraud, malice, or gross

negligence, Dean Nordman suffered the injuries described herein. Plaintiff asserts a claim for

judgment against Nursing Home Defendant for all compensatory and punitive damages including,

but not limited to, medical expenses, extreme pain and suffering, mental anguish, disability,

disfigurement, degradation, and unnecessary loss of personal dignity, in an amount to be

determined by the jury, but in excess of the minimum jurisdictional limits of this Court and


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exceeding that required for federal court jurisdiction in diversity of citizenship cases, plus costs

and all other relief to which Plaintiff is entitled by law.

                          COUNT III – CORPORATE NEGLIGENCE

        33.      The Plaintiff re-alleges and incorporates by reference the allegations in every

paragraph heretofore stated as if fully set out herein.

        34.      Upon information and belief, Dean Nordman was looking to Nursing Home

Defendant’s facility for treatment of his physical ailments and not merely as the situs where others

not associated with the facility would treat him for his problems. There is a presumption that the

treatment Dean Nordman received was being rendered through employees of Nursing Home

Defendant and that any negligence associated with that treatment would render Nursing Home

Defendant responsible. Nursing Home Defendant or persons or entities under its control or to the

extent Nursing Home Defendant was vicariously liable through the ostensible or apparent agency

of others, owed a non-delegable duty to residents, including Dean Nordman, to act with the degree

and skill expected of reasonably competent medical practitioners acting in the same or similar

circumstances.

        35.      Nursing Home Defendant owed a non-delegable duty to assist Dean Nordman in

attaining and maintaining the highest level of physical, mental and psychological well-being.

        36.      Nursing Home Defendant owed a duty to Dean Nordman to maintain its facility,

including providing and maintaining medical equipment and supplies; and hiring, supervising and

retaining nurses and other staff employees.

        37.      Nursing Home Defendant owed a duty to Dean Nordman to have in place

procedures and protocols to properly care for residents and to administer these policies through




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enforcement of any rules, regulations, bylaws or guidelines, which were adopted by Nursing Home

Defendant to insure a smoothly run facility and adequate resident care.

        38.     Nursing Home Defendant owed a duty to Dean Nordman to provide a safe

environment; to provide treatment and recovery; and to exercise ordinary care and attention for

the safety of residents, including Dean Nordman, in proportion to the physical and mental ailments

of each particular resident, known or discoverable by the exercise of reasonable skill and diligence.

The duty of reasonable care and attention extended to safeguarding Dean Nordman from danger

due to his inability to care for himself. Nursing Home Defendant had a duty to protect Dean

Nordman from any danger which the surroundings would indicate might befall him in view of any

peculiar trait exhibited by him or which his mental condition or aberration would suggest as likely

to happen.

        39.     With regard to each of the foregoing acts of negligence, Nursing Home Defendant

acted with oppression, fraud, malice, or was grossly negligent by acting with wanton or reckless

disregard for the health and safety of Dean Nordman.

        40.     As a direct and proximate result of such oppression, fraud, malice, or gross

negligence, Dean Nordman suffered the injuries described herein. Plaintiff asserts a claim for

judgment against Nursing Home Defendant, for all compensatory and punitive damages including,

but not limited to, medical expenses, extreme pain and suffering, mental anguish, disability,

disfigurement, hospitalizations, degradation, and unnecessary loss of personal dignity, in an

amount to be determined by the jury, but in excess of the minimum jurisdictional limits of this

Court and exceeding that required for federal court jurisdiction in diversity of citizenship cases,

plus costs and all other relief to which Plaintiff is entitled by law.




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      COUNT IV – VIOLATIONS OF LONG TERM CARE RESIDENT’S RIGHTS

       41.     The Plaintiff re-alleges and incorporates by reference the allegations in every

paragraph heretofore stated as if fully set out herein.

       42.     Nursing Home Defendant violated statutory duties owed to Dean Nordman as a

resident of a long-term care facility, KRS 216.510 et seq. Plaintiff specifically references KRS

216.515 here, without limiting the import of the remaining portions of the Resident’s Rights

Statutes. These statutory duties were non-delegable.

       43.     The violations of the resident’s rights of Dean Nordman include, but are not limited

to, the following:

       (a)     Violation of the right to be treated with consideration, respect, and full recognition
               of his dignity and individuality, including privacy in treatment and in care for his
               personal needs;
       (b)     Violation of the right to be suitably dressed at all times and given assistance when
               needed in maintaining body hygiene and good grooming;
       (c)     Violation of the right to have a responsible party or family member or guardian
               notified immediately of any accident, sudden illness, disease, unexplained absence,
               or anything unusual involving the resident;
       (d)     Violation of the right to have an adequate and appropriate resident care plan
               developed, implemented and updated to meet his needs;
       (e)     Violation of the right to be free from mental and physical abuse and neglect; and
       (f)     Violation of the statutory standards and requirements governing licensing and
               operation of long-term care facilities as set forth by the Cabinet for Health and
               Family Services, pursuant to provisions of KRS Chapter 216 and the regulations
               promulgated thereunder, as well as the applicable federal laws and regulations
               governing the certification of long-term care facilities under Titles XVIII or XIX
               of the Social Security Act.
       44.     As a result of the aforementioned violations of the Resident’s Rights Statutes by

Nursing Home Defendant, pursuant to KRS 216.515(26), Plaintiff is entitled to recover actual

damages in an amount to be determined by the jury, but in excess of the minimum jurisdictional



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limits of this Court and exceeding that required for federal court jurisdiction in diversity of

citizenship cases, as well as costs and attorney’s fees.

       45.     With regard to the aforementioned violations of the Resident’s Rights Act, Nursing

Home Defendant acted with oppression, fraud, malice, or was grossly negligent by acting with

wanton and reckless disregard for the rights of Dean Nordman and, pursuant to KRS 216.515(26),

Plaintiff is entitled to punitive damages from Nursing Home Defendants in an amount to be

determined by the jury, but in excess of the minimum jurisdictional limits of this Court and

exceeding that required for federal court jurisdiction in diversity of citizenship cases, as well as

costs and attorney’s fees.

             CAUSE OF ACTION AGAINST ADMINISTRATOR DEFENDANT
                           FACTUAL ALLEGATIONS

       46.     The Plaintiff re-alleges and incorporates by reference the allegations in every

paragraph heretofore stated as if fully set out herein.

       47.     As administrator of The Good Samaritan Society – Jeffersontown, Administrator

Defendant was required to be licensed by the Commonwealth of Kentucky. Administrator

Defendant owed ordinary duties of care to Dean Nordman, as well as professional duties and

statutory duties owed to residents by licensed, nursing home administrators in Kentucky, pursuant

to the Nursing Home Administrators Licensure Act of 1970, codified as Kentucky Revised Statutes

sections 216A.010 et seq.

       48.     As holder of a nursing home administrator’s license for The Good Samaritan

Society – Jeffersontown, Administrator Defendant was legally and individually responsible for the

operation of the facility and the welfare of its residents pursuant to Chapter 216A of the Kentucky

Revised Statutes and Title 201, Chapter 6 of the Kentucky Administrative Regulations.




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       49.     Administrator Defendant was also responsible for the total management of The

Good Samaritan Society – Jeffersontown pursuant to federal law.

       50.     Administrator Defendant’s management responsibilities included ensuring that The

Good Samaritan Society – Jeffersontown operated and provided services in compliance with all

applicable federal, state, and local laws, regulations, and codes, and within accepted professional

standards and principles.

       51.     Administrator Defendant was responsible for ensuring that the facility complied

with state and federal regulations related to nursing facilities. Administrator Defendant had duties

to administrate the facility in a manner that enabled it to use resources effectively and efficiently

to attain or maintain the highest practicable, physical, mental and psychological well–being of

each resident. The nursing facility, under the leadership of its administrator, is also required to

operate and provide services in compliance with all applicable federal, state and local laws,

regulations and codes and with accepted professional standards and principles that apply to

professionals providing services in such a facility. Administrator Defendant breached her duties

of care to Dean Nordman by failing to meet these requirements.

                                   COUNT I – NEGLIGENCE

       52.     The Plaintiff re-alleges and incorporates by reference the allegations in every

paragraph heretofore stated as if fully set out herein.

       53.     As administrator of The Good Samaritan Society – Jeffersontown, Administrator

Defendant owed a duty to the residents of The Good Samaritan Society – Jeffersontown, including

Dean Nordman, to provide services as a reasonable administrator within accepted standards for

nursing home administrators.




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       54.     Administrator Defendant breached her duties owed to the residents of The Good

Samaritan Society – Jeffersontown, including Dean Nordman, during her tenure as administrator

by failing to supervise nurses and nurses’ aides and failing to hire sufficient nurses and nurses’

aides and, as such, the nurses and nurses’ aides were unable to provide Dean Nordman the care he

required. The negligence of Administrator Defendant includes, but is not limited to, the following

acts and omissions:

       (a)     Failure to monitor or provide enough qualified nursing personnel at the facility to
               ensure that Dean Nordman:
               (1)    received timely and accurate care assessments;
               (2)    received prescribed treatment and medication;
               (3)    received appropriate diet and nutrition;
               (4)    received necessary supervision; and
               (5)    received timely intervention due to significant changes in condition;
       (b)     Failure to adequately screen, evaluate, and test for competence in selecting
               personnel to work at the facility;
       (c)     Failure to ensure that Dean Nordman was provided with basic and necessary care
               and supervision;
       (d)     Failure to ensure that Dean Nordman received care, treatment, and medication as
               prescribed or in accordance with physician’s orders;
       (e)     Failure to ensure that Dean Nordman attained and maintained his highest level of
               physical, mental, and psychosocial well–being;
       (f)     Failure to ensure that Dean Nordman was treated with the dignity and respect that
               all nursing home residents are entitled to receive;
       (g)     Failure to provide a safe environment for Dean Nordman;
       (h)     Failure to take reasonable steps to prevent, eliminate and correct deficiencies and
               problems in resident care at the facility;
       (i)     Failure to discipline or terminate employees at the facility assigned to Dean
               Nordman that were known to be careless, incompetent, and unwilling to comply
               with the policy and procedures of the facility and the rules and regulations
               promulgated by the Cabinet for Health and Family Services;


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       (j)     Failure to adopt adequate guidelines, policies, and procedures for:
               (1)    investigating the relevant facts, underlying deficiencies, or licensure
                      violations or penalties found to exist at the facility by the Cabinet for Health
                      and Family Services or any other authority;
               (2)    determining the cause of any such deficiencies, violations, or penalties;
               (3)    establishing the method and means for correcting deficiencies or licensure
                      violations or penalties found to exist at the facility;
               (4)    determining whether the facility had sufficient numbers of personnel to
                      meet the total needs of Dean Nordman; and,
               (5)    documenting, maintaining files, investigating and responding to any
                      complaint regarding the quality of resident care, or misconduct by
                      employees at the facility, regardless of whether such complaint derived
                      from a resident of said facility, an employee of the facility, or any interested
                      person;
       (k)     Failure to maintain all records on Dean Nordman in accordance with accepted
               professional standards and practice that were complete, accurately documented,
               readily accessible, and systematically organized with respect to his diagnosis,
               treatment, and appropriate care plans of care and treatment;
       (l)     Failure to inform the physician and family of significant changes in condition;
       (m)     Failure to increase the number of personnel at the facility to ensure that Dean
               Nordman received timely and appropriate custodial care, including, but not limited
               to, bathing, grooming, incontinent care, personal attention, hygiene, feeding, and
               administering medications;
       (n)     Failure to ensure that staff provide Dean Nordman with adequate and proper
               infection control measures, supervision, skin care, medication administration and
               hygiene;
       (o)     Failure to ensure that staff provided proper supervision, treatment, assessment and
               monitoring of Dean Nordman to prevent him from suffering the above-listed
               injuries;
       (p)     Failure to ensure that staff administered and secured appropriate medical care for
               Dean Nordman’s above-listed injuries; and
       (q)     Failure to increase the number of personnel at the facility to ensure that Dean
               Nordman not suffer the above-listed failures.
       55.     A reasonably careful nursing home administrator would have foreseen that the

failure to provide the ordinary care listed above would result in serious injuries to Dean Nordman.


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Each of the foregoing acts of negligence on the part of Administrator Defendant was accompanied

by such wanton or reckless disregard for the health and safety of Dean Nordman as to constitute

gross negligence.

       56.     Additionally, Administrator Defendant failed to operate, manage or administer The

Good Samaritan Society – Jeffersontown in compliance with federal, state, and local laws,

regulations, and codes intended to protect nursing home residents, including, but not limited to:

       (a)     Failure to ensure compliance with rules and regulations of the Cabinet for Health
               and Family Services, pursuant to Chapters 216, 216B and 13A of the Kentucky
               Revised Statutes and the administrative regulations promulgated thereunder, and
               the federal minimum standards imposed by the United States Department of Health
               and Human Services, 42 C.F.R. sections 405.301 et seq.;
       (b)     Failure to ensure compliance with laws and regulations promulgated by the Cabinet
               for Health and Family Services to provide the minimum number of staff necessary
               to assist Dean Nordman with his needs;
       (c)     Failure to ensure compliance with law and regulations of the Board of Licensure
               for Nursing Home Administrators pursuant to the Nursing Home Administrators
               Licensure Act of 1970, Kentucky Revised Statutes sections 216A.010 et seq.;
       (d)     Failure to provide the necessary care and services to attain or maintain the highest
               practicable, physical, mental, and psychosocial well-being of Dean Nordman, and
               in accordance with the comprehensive assessment and plan of care created at the
               facility;
       (e)     Failure to provide sufficient nursing staff and nursing personnel to provide adequate
               and appropriate nursing care to Dean Nordman in accordance with the resident care
               plan generated at the facility;
       (f)     Failure to administer the facility in a manner that enabled it to use its resources
               effectively and efficiently to attain or maintain the highest practicable physical,
               mental and psychosocial well-being of Dean Nordman;
       (g)     Failure to ensure a nursing care plan based on Dean Nordman’s problems and needs
               was established which contained measurable objectives and time tables to meet his
               medical, nursing, mental, and psychosocial needs as identified in his
               comprehensive assessment when Dean Nordman’s needs changed; and
       (h)     Failure to notify Dean Nordman’s family and physician of a need to alter his
               treatment significantly.




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        57.     Dean Nordman was member of a class intended to be protected by the above laws

and regulations. The injuries alleged in Paragraph 18 resulted from events the laws and regulations

were designed to prevent.

        58.     It was foreseeable that these breaches of statutory duties would result in serious

injuries to Dean Nordman. Each of the foregoing acts of negligence per se on the part of

Administrator Defendant was accompanied by such wanton or reckless disregard for the health

and safety of Dean Nordman as to constitute gross negligence.

        59.     As a direct and proximate result of such negligent, grossly negligent, wanton, or

7reckless conduct, Dean Nordman suffered the injuries described in Paragraph 17, and Plaintiff

asserts a claim for judgment for all compensatory and punitive damages against Administrator

Defendant including, but not limited to, medical expenses, extreme pain and suffering, mental

anguish, disfigurement, hospitalizations, degradation, and unnecessary loss of personal dignity, in

an amount to be determined by the jury, but in excess of the minimum jurisdictional limits of this

Court and exceeding that required for federal court jurisdiction in diversity of citizenship cases,

plus costs and all other relief to which Plaintiff is entitled by law.

                                             DAMAGES

        60.     The Plaintiff re-alleges and incorporates by reference the allegations in every

paragraph heretofore stated as if fully set out herein.

        61.     As a direct and proximate result of the negligence of all Defendants as set out above,

Dean Nordman suffered injuries including, but not limited to, those listed herein. As a result, Dean

Nordman incurred significant medical expenses, and suffered embarrassment, and physical

impairment.




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       62.     Plaintiff seeks punitive and compensatory damages against all Defendants in an

amount to be determined by the jury, plus costs and all other relief to which Plaintiff is entitled by

law.

                                      REQUEST FOR RELIEF

       WHEREFORE, Plaintiff, Dean Nordman, prays for judgment against Defendants, The

Evangelical Lutheran Good Samaritan Society, Inc. d/b/a The Good Samaritan Society –

Jeffersontown d/b/a The Good Samaritan Center; Christine Wideman, in her capacity as

Administrator of The Good Samaritan Society – Jeffersontown; and John Does 1 through 3,

Unknown Defendants, jointly and severally, as follows:

       1.      Damages for medical expenses, pain and suffering, mental anguish, disability,

disfigurement, degradation, increased risk of harm and unnecessary loss of personal dignity, as

established by the evidence;

       2.      For an amount of punitive damages as established by the evidence;

       3.      For all damages afforded under KRS 216.515;

       4.      For all damages afforded under KRS 314.021;

       5.      For any and all other damages arising from the negligent care of Dean Nordman;

       6.      For prejudgment and post-judgment interest;

       7.      For a trial by jury;

       8.      For attorney’s fees pursuant to KRS 216.515 and all other applicable law;

       9.      For Plaintiff’s costs herein expended; and

       10.     For any and all other relief to which Plaintiff may appear entitled.

                                                      Respectfully submitted,

                                                      /s/ D. Todd Varellas
                                                      D. Todd Varellas

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